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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



 CRYSTALLEX INTERNATIONAL CORP.,

   Plaintiff,

         V.                                              Misc. No. 17-151-LPS


  BOLIVARIAN REPUBLIC OF VENEZUELA,

   Defendant.




                    SPECIAL MASTER CONFIDENTIALITY ORDER


        WHEREAS,on May 27,2021,the Court issued the Order Regarding Special Master(D.I.

277)(the "Special Master Order");

        WHEREAS, Paragraph 2 of the Special Master Order requires that the Special Master

"oversee the execution of a protective order to ensure that confidential information provided or

 exchanged during the course of the Special Master's tenure is properly protected from disclosure

that could cause competitive or other harm";

        WHEREAS,pursuant to Paragraph 9 ofthe Special Master Order,"[t]he Venezuela Parties

(including their directors, officers, employees, and agents) shall, to the extent available to them,

 use reasonable efforts to promptly provide the Special Master with any and all non-privileged

 information and documents (confidential or otherwise) concerning the Venezuela Parties that the

 Special Master requests in order to permit him to prepare and file the Proposed Sales Procedures

 Order and otherwise perform his duties as Special Master";*



 * Capitalized terms not otherwise defined herein shall have the meaning defined in the Special
 Master Order.
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         WHEREAS, such information may include "financial information and documents about

 the Venezuela Parties' businesses (historic, existing, or potentially prospective), creditors,

 stockholders, directors, officers, employees, and agents," and this information, as well as

 information submitted by Crystallex or ConocoPhillips, may be considered confidential or highly

 confidential;

         WHEREAS, pursuant to Paragraph 19 of the Special Master Order, "the Parties and

 ConocoPhillips will, to the extent available to them and to the extent it is required, make available

 to the Special Master any and all facilities and all files, databases,and documents that are necessary

 to fulfill the Special Master's functions ... subject to confidentiality restrictions"; and

         WHEREAS,the Parties, ConocoPhillips, the Special Master, and the Court all agree that

 Confidential Information and Highly Confidential Information should be accorded certain

 protections, consistent with the governing law:

         NOW THEREFORE,this 6th day of July, 2021, it is HEREBY ORDERED that the

 use and disclosure of "Confidential Information" and "Highly Confidential Information," as

 defined below, shall be governed by this Confidentiality Order, as follows:

         1.      Any Party or ConocoPhillips may designate any documents or information as

"Confidential Information" ifsuch party in good faith believes that such documents or information

 contain non-public, confidential, proprietary, or commercially sensitive information that requires

 the protections provided in this Order. Any Party or ConocoPhillips must designate such

 documents or information as "Confidential Information" by affixing the legend "Confidential

 Information"to each page containing such Confidential Information or in the case ofelectronically

 stored information produced in native format, by including "Confidential Information" in the file

 or directory name, or by affixing the legend "Confidential Information" to the media. The
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 producing party must designate such documents or information as "Confidential Information" to

receive the protections ofthis Order.

        2,      Any Party or ConocoPhillips may designate any documents or information as

"Highly Confidential Information" ifsuch party in good faith believes that disclosure ofsuch non-

 public, confidential, proprietary, or commercially sensitive information other than as permitted

 pursuant to this Order is substantially likely to cause injury to the producing party. Any Party or

 ConocoPhillips must designate such documents or information as "Highly Confidential

 Information" by affixing the legend "Highly Confidential Information" to each page containing

 such Highly Confidential Information or in the case ofelectronically stored information produced

 in native format, by including "Highly Confidential Information" in the file or directory name, or

 by affixing the legend "Highly Confidential Information" to the media. The producing party must

 designate such documents or information as "Highly Confidential Information" to receive the

 protections of this Order.

        3.      Any document filed with the Court by the Special Master pursuant to the Special

 Master Order (including the Proposed Sales Procedure Order and any invoice or billing record)

 that contains Confidential Information shall automatically be filed under seal pursuant to Section

(G)ofthe Court's Administrative Procedures Governing Filing and Service by Electronic Means

 and Federal Rule of Civil Procedure 5.2(d). Within 72 hours ofservice ofa document filed under

 seal with the Court by the Special Master,the Parties and ConocoPhillips shall exchange proposed

 redactions to the under-seal filing. No later than five calendar days after the filing of an under-

 seal document, the Parties and ConocoPhillips shall jointly submit proposed redactions to the

 Special Master. The Special Master will file such redactions as soon as practicable thereafter.
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        4.      Confidential Information may not be disclosed, summarized, described,

 characterized, or otherwise communicated or made available, in whole or in part, to any person or

 entity other than (i) the Court and its persormel;(ii) the Special Master,(iii) the Special Master's

 Counsel and the Special Master's Advisors(as defined in the Special Master Order and including,

 but not limited to,the Special Master's financial advisors);(iv) outside counsel for the Parties and

 ConocoPhillips, and(v)other persons whom the Special Master agrees may possess Confidential

 Information. Should the Special Master wish to disclose Confidential Information to any persons

 specified in item (v), the Parties shall be given prompt notice and an opportunity to object to the

 disclosure ofsuch information, with any dispute to be resolved by the Court prior to disclosure by

 the Special Master. Access to Confidential Information by persons specified in items (iii) and(v)

 ofthis Paragraph 4 shall be subject to Paragraph 6 herein.

        5.      Confidential Information and Highly Confidential Information shall be used solely

 for purposes related to the Special Master and the Special Master's duties as ordered by the Court,

 and shall not be used by any person or entity for any other purpose whatsoever,including, without

 limitation, any business, commercial, or public purpose, or in any other litigation or proceeding.

        6.      Confidential Information may be provided to persons in Paragraph 4(iii) and (v)

 only after each such person executes and files with the Court an agreement to be bound by this

 Confidentiality Order in the form attached hereto as Exhibit 1. Among other things, such

 agreement to be bound will confirm that each such person consents to personal jurisdiction in this

 Court for all matters relating to the above-captioned action,including, but not limited to, all matters

 relating in any way to the Special Master Order or the Special Master, any Confidential

 Information or Highly Confidential Information, or this Confidentiality Order.
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        7.      Any person identified in Paragraph 4 to whom Confidential Information is

 disclosed, summarized, described, characterized, or otherwise communicated or made available,

in whole or in part, shall be advised that the Confidential Information is being disclosed pursuant

 to and subject to the terms of this Confidentiality Order and may not be disclosed, summarized,

 described,characterized, or otherwise communicated or made available,in whole or in part, to any

 unauthorized person or entity, and may not be used for purposes other than those permitted

 hereunder. Each such person shall maintain the Confidential Information and any information

 derived therefrom in a manner reasonably calculated to prevent unauthorized disclosure or use.

        8.      Any pleading, brief, memorandum,motion,letter, affidavit, or other document filed

 with the Court that discloses, summarizes, describes, characterizes, or otherwise communicates

 Confidential Information (a "Confidential Information Filing") shall be filed under seal with the

 Court in accordance with the provisions of Section(G)of the Court's Administrative Procedures

 Governing Filing and Service by Electronic Means and Federal Rule of Civil Procedure 5.2(d). A

 public version ofthe filing, pursuant to the Court's procedures and the procedures ofParagraph 3

 in this Confidentiality Order, shall be filed within seven calendar days.

        9.      There is good cause to provide confidential treatment to Confidential Information

 Filings and any Confidential Information therein, and any public interest in disclosure of such

 documents or information is outweighed by the harm that such disclosure would cause. These

 findings are subject to review by the Court, at an appropriate time and pursuant to procedures to

 be set by the Court, in connection with any particular document. Any person or entity filing a

 public version ofa Confidential Information Filing shall redact any Confidential Information from

 the public version.
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        10.     Any Party or ConocoPhillips objecting to the designation of any document or

information as Confidential Information may,after making a good-faith effort to resolve any such

objection with the producing party, move the Special Master for an order vacating the designation.

The producing party shall have 48 hours to show cause. While such a motion is pending, the

 Confidential Information in question shall be treated as Confidential Information pursuant to this

 Order. The provisions of this Order are not intended to shift any burdens of proof, including the

 burden of establishing that any document or information validly constitutes Confidential

Information, which burden remains on the party that designates such document or information as

 Confidential Information.

        11.     Any Party or ConocoPhillips may apply, within 48 hours after the use or handling

 of Confidential Information or service ofa Confidential Information Filing,for an order providing

 additional safeguards or clarification with respect to the use or handling of Confidential

 Information or Confidential Information Filings, or for an order remedying any violation of this

 ConfidentiaUty Order.

        12.     Highly Confidential Information may be shared with the Special Master's Counsel

 and Advisors who have executed and filed with the Court an agreement to be bound by this

 Confidentiality Order in the form attached hereto as Exhibit 1. Highly Confidential Information

 may not be shared with any ofthe other Parties, ConocoPhillips,their outside counsel,or any other

 person or entity, and it shall not be filed with the Court. Notwithstanding the foregoing,the Special

 Master may (i) share a document validly marked "Highly Confidential Information" in camera

 with the Court; or (ii) file such document if he deems it in furtherance of his duties provided that

 he redacts such documents and otherwise complies with this paragraph and other provisions ofthis

 Order. In the event the Special Master files such document with the Court, the Special Master
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shall file the document under seal, provide to the Court and counsel ofrecord for those parties that

 would otherwise receive a service copy of the sealed filing a version in which all Highly

 Confidential information and documents are redacted,and provide to the Court an unredacted copy

 of the sealed filing. For the avoidance of doubt, the Special Master shall not be required to

 challenge the designation of Highly Confidential prior to sharing with the Court or filing such

 Highly Confidential Information under seal provided that no other party or person other than the

 Court shall be entitled to see or access such document.

        13.    If the Special Master believes (i) that filing a document publicly or making it

 available to a person or party other than the Court in camera is necessary or appropriate in the

 furtherance of his duties; and (ii) a document or information has been improperly designated as

 Highly Confidential Information, he shall provide written notice to the producing party to show

 cause why such document should not be designated as Confidential. The producing party shall

 have 48 hours to show cause why the document or information should not be treated as

 Confidential Information. If, after the producing party has had the opportunity to show cause,the

 Special Master still believes that the document or information should be treated as Confidential

 Information, the producing party shall have the opportunity to submit the document to the Court

(with copy to the Special Master) for in camera review and determination regarding its

 designation. Ifthe producing party fails to timely respond to the Special Master's notice to show

 cause, or does not submit the document or information for review within 48 hours after being

 informed by the Special Master of his determination, the document or information that was the

 subject of the notice shall be deemed Confidential Information and shall no longer receive the

 protections afforded to Highly Confidential Information pursuant to this order.
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        14.    Nothing herein shall be deemed to waive any applicable common law or statutory

privilege or work-product protection.

        15.    The provisions of this Confidentiality Order shall survive indefinitely,

 notwithstanding the termination of the above-captioned action or any appeals therefrom.

 Confidential Information shall be released from confidential treatment only upon further order of

this Court.


        16.     Prior to any court proceeding in which Confidential Information or Confidential

Information Filings are to be used, counsel shall confer in good faith on such procedures that may

 be necessary or advisable to protect the confidentiality of such Confidential Information or

 Confidential Information Filings.

        17.     If any person or entity(a "Receiver")in possession of Confidential Information or

 Confidential Information Filings (other than the Special Master) receives a subpoena or other

 compulsory process seeking the production or other disclosure of Confidential Information or

 Confidential Information Filings (a "Demand"), the Receiver shall give written notice (by hand,

 email, or facsimile transmission) to counsel for the Special Master within three business days of

 receipt ofsuch Demand (or if a response to the Demand is due in less than three business days, at

 least 24 hours prior to the deadline for a response to the Demand), identifying the Confidential

 Information and/or Confidential Information Filings sought and enclosing a copy of the Demand.

 The Receiver must object to the production of the Confidential Information and/or Confidential

 Information Filings on the grounds of the existence of this Confidentiality Order until such time

 as a court of competent jurisdiction directs the Receiver to produce the Confidential Information

 and/or Confidential Information Filings, except if the party that produced the Confidential

 Information (a) consents,(b)fails to file a motion to quash, or (c) fails to notify the Receiver in
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 writing of its intention to contest the production of the Confidential Information and/or

 Confidential Information Filings prior to the date designated for production of the Confidential

Information and/or Confidential Information Filings, in which event the Receiver may produce

 those materials on the production date, but no earlier.

        18.     Except as may be required by law,no person or entity shall reveal any Confidential

 Information, Confidential Information Filings, or any information contained therein to anyone not

 entitled to receive Confidential Information under the terms of this Confidentiality Order. In the

 event that any Confidential Information, any Confidential Information Filings, or any information

 contained therein is disclosed to any person or entity other than in the manner authorized by this

 Confidentiality Order, or in the event that any information comes to a person's or entity's

 attention that may indicate there was or is likely to be a loss of confidentiality of any

 Confidential Information, any Confidential Information Filings, or any information contained

 therein, the person or entity responsible for the actual or likely disclosure or loss of

 confidentiality (and any person or entity with knowledge of such actual or likely disclosure or

 loss of confidentiality) shall immediately inform the Special Master and his Counsel of all

 pertinent facts relating to the actual or likely disclosure or loss of confidentiality, including, if

 known, the name, address, and employer of each person or entity to whom the disclosure was

 made(or to whom the likely disclosure may be made). The person or entity responsible for the

 actual or likely disclosure or loss of confidentiality shall also exercise best efforts to prevent

 disclosure of Confidential Information or Confidential Information Filings by each

 unauthorized person or entity who receives or may receive the information.

         19.    All of the protections provided by this Confidentiality Order for Confidential

 Information shall also apply to Highly Confidential Information. In addition. Highly Confidential
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 Information is not to be shared with any individual or entity besides the Special Master, his

 Advisors, and the entity that produced the Highly Confidential Information (and, as set out

 elsewhere in this Confidentiality Order,the Court).

        20.     By entering this Confidentiality Order and limiting the disclosure ofinformation in

 this case, the Court does not intend to preclude another court from finding that information may

 be relevant and subject to disclosure in another case. Any Party, person, or entity subject to this

 Confidentiality Order who becomes subject to a motion to disclose another Party's or entity's

 Confidential Information shall promptly notify that Party or entity ofthe motion so that the Party

 or entity may have an opportunity to appear and be heard on whether that information should be

 disclosed.


        21.     This Confidentiality Order, and any dispute arising out of or relating in any way to

 this Confidentiality Order, shall be govemed by and construed in accordance with the laws of the

 State ofDelaware, without regard to conflict-of-laws principles. The sole and exclusive forum for

 any dispute relating in any way to the Special Master Order, any Confidential Information, any

 Confidential Information Filings, or this Confidentiality Order shall be the United States District

 Court for the District of Delaware.




                IT IS SO ORDERED this 6th day of July, 2021.




                                                       The Hc^norable Leonard P. Stark
                                                       United States District Judge




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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



  CRYSTALLEX INTERNATIONAL CORP.,

   Plaintiff,

            V.                                           Misc. No. 17-151-LPS


  BOLIVARIAN REPUBLIC OF VENEZUELA,

   Defendant.




                   UNDERTAKING ACKNOWLEDGING AND AGREEING
            TO BE BOUND BY SPECIAL MASTER CONFIDENTIALITY ORDER


           1.    I have read the Special Master Confidentiality Order issued in the above-captioned

 action.


           2.    I am a person whom the Special Master has determined may possess Confidential

 Information and/or Highly Confidential Information.

           3.    I understand and acknowledge the terms of the Special Master Confidentiality

 Order and agree to be bound by them.

           4.    I agree not to disclose, summarize, describe, characterize, or otherwise

 communicate or make available, in whole or in part, any Confidential Information, Highly

 Confidential Information, or Confidential Information Filings (each as defined in the Special

 Master Confidentiality Order), except (if permitted) to such persons expressly referenced in

 Paragraph 4 ofthe Special Master Confidentiality Order, and who also have executed the required

 undertaking, if required.

           5.    I agree not to use Confidential Information, Highly Confidential Information, or

 Confidential Information Filings for any purpose other than those expressly referenced in
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 Paragraph 5 of the Special Master Confidentiality Order. I further agree not to disclose,

 summarize, describe, characterize, or otherwise communicate or make available, in whole or in

 part. Confidential Information, Highly Confidential Information, or Confidential Information

 Filings, except (if permitted) in documents filed confidentially with the Court pursuant to the

 Special Master Confidentiality Order.

        6.      I further agree to abide by the restrictions placed on information designated "Highly

 Confidential Pursuant to Order of the United States District Court for the District of Delaware,

 Crystallex Int'l Corp. v. Bolivarian Republic of Venezuela^ as set forth in the Special Master

 Confidentiality Order.

        7.      I agree that, in the event ofa violation ofthe Special Master Confidentiality Order,

 I shall be subject to such sanctions and penalties as the Court deems just and proper.

        8.      I agree that the Special Master Confidentiality Order is valid and enforceable

 against me,and I waive any argument to the contrary.

        9.      I agree to personal jurisdiction in the United States District Court for the District of

 Delaware for all matters relating to the above-captioned action, including, but not limited to, all

 matters relating in any way to the Special Master Confidentiality Order, any Confidential

 Information, Highly Confidential Information, and/or any Confidential Information Filings.

        10.     I hereby submit to the exclusive and continuing jurisdiction of the United States

 District Court for the District ofDelaware for all matters relating in any way to the Special Master

 Confidentiality Order, any Confidential Information, Highly Confidential Information, and/or any

 Confidential Information Filings.

        11.     I agree to file this Undertaking Acknowledging and Agreeing to Be Bound by

 Special Master Confidentiality Order with the Court in the above-captioned action.
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  Date:                                 Signature:



                                        Name:




                                        Affiliation:




                                        Title:
